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                  TALKIN, MUCCIGROSSO & ROBERTS, L.L.P.
                                         40 EXCHANGE PLACE
                                              18th FLOOR
                                      NEW YORK, NEW YORK 10005
                                          PHONE:(212) 482-0007
                                           FAX: (212) 482-1303
                                            www.talkinlaw.com
                                         EMAIL: info@talkinlaw.com
Maryland Office:                                                                   New Jersey Office:
5100 Dorsey Hall Drive                                                             2500 Plaza 5
Suite 100                                                                          Harborside Financial
Ellicott City, MD 21042                                                            Center
(410) 964-0300                                                                     Jersey City, NJ 07311
                                                                                   (201) 342-6665
                                                 October 15, 2020
    Honorable Kimba M. Wood
    United States District Court
    Southern District of New York
    500 Pearl Street                                     MEMO ENDORSED
    New York, New York 10007

    BY ECF
                                         Re:     Stephenson v. United States, 19 Civ. 10652 (KMW)
    Dear Judge Wood:

            Petitioner Ryan Stephenson respectfully submits this letter to request an approximately
    two-week adjournment of the evidentiary hearing (the “Hearing”) currently scheduled for              Granted
    October 19, 2020. We have conferred with the government, and the government consents to this -KMW
    request. An adjournment is necessary because the government two days ago produced to us two
    sets of notes
    (the “Notes”) as well as signed proffer agreements from proffer sessions between Mr. Stephenson
    and the government in 1999, which the government intends to use as hearing exhibits. Also on
    Tuesday of this week, the government for the first time gave us notice of its intention to request
    leave of Court to call two former postal inspectors as witnesses, either in its primary presentation
    or in rebuttal. The parties have conferred and are available any time on the following dates:
    11/2, 11/4, 11/6, 11/9, 11/13, 11/16 , and 11/17, with a preference for the first two weeks of
    November, if feasible.

            By way of background, we have previously addressed the issue of the production of the
    Notes in multiple letters to the Court. On June 11, 2019, Mr. Stephenson submitted a Freedom of
    Information Act (“FOIA”) request on the Executive Office for United States Attorneys (“EO”)
    seeking, among other things, “notes or memoranda of any meetings relating to the above-
    captioned case taken or maintained by members of the USAO, U.S. Postal Inspectors, or any
    other investigative staff working with the USAO.” (Dkt. 9-6). The EO did not produce any
    documents or refer to any documents specifically being withheld in response to this request.

           On March 3, 2020, the government wrote a letter to the Court alerting the Court (and Mr.
    Stephenson) that it possessed the Notes and represented that these were evidence that
    immigration consequences were not discussed in meetings between the government and Mr.
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Stephenson. (Dkt. 21). On March 5, 2020, Mr. Stephenson responded by letter to the Court,
(Dkt. 22), that the government had denied Mr. Stephenson’s request for the notes, but, based on
the government’s limited representation about their contents, it seemed that they were a
substantially incomplete accounting of the conversations between Mr. Stephenson and the
government and/or did not relate to the pertinent meeting(s).

        The government, in an August 3, 2020 letter relating to certain attorney affirmations
ordered by the Court, reasserted its claim that the Notes were evidence that immigration
consequences were not discussed in meetings between the government and Mr. Stephenson.
(Dkt. 25). On August 7, 2020, Mr. Stephenson again contended that he understood the Notes to
be either incomplete and/or to not relate to the pertinent meeting(s). (Dkt. 26).

        On October 1, 2020, the parties conferred regarding potential exhibits and witnesses for the
upcoming hearing. The government stated that it did not, at that time, plan to call any witnesses
other than Mr. Stephenson or his prior attorney, George Goltzer. The government also did not
disclose any intention at that time to use the Notes as exhibits.

         Two days ago, on the evening of October 13, 2020, the government for the first time
produced the Notes to Mr. Stephenson and informed him that it intended to use the Notes as exhibits
at the upcoming Hearing. Additionally, the government informed Mr. Stephenson for the first time
that it was considering calling two former postal inspectors as witnesses, either in its primary
presentation of the evidence or in rebuttal to testimony by Mr. Stephenson. That same evening we
responded to the government by email that we might need to request an adjournment in light of
these disclosures.

        Mr. Stephenson requests this brief adjournment to better understand the import of the Notes
and to gather any available evidence regarding the discussion that occurred at the proffer sessions
memorialized by the Notes and to consider whether to oppose their admission. Additionally, Mr.
Stephenson seeks to better understand the import of the potential testimony of the former postal
inspector witnesses. The government consents to this request.
                                                                       The Court assents to adjourning the
                                                                       hearing. The parties should confer
        We appreciate the Court’s consideration of this letter.
                                                                       regarding what two successive days
                                               Respectfully,           they can be available for the hearing.
                                                                       Any documents to be used at the
                                               /s/ Noam Greenspan hearing must be given to the Court
                                                                       one week before the commencement
                                               Noam Greenspan          of the hearing.
cc:     AUSA Kaylan Lasky (by ECF)
        AUSA Nicholas Folly (by ECF)                                   SO ORDERED.
                                                                       Dated: New York, NY
                                                                       October 16, 2020

                                                                      /s/ Kimba M. Wood
                                                                      KIMBA M. WOOD
                                                                      United States District Judge
